                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE
__________________________________________
                                           )
MILFORD-BENNINGTON RAILROAD CO.,           )
INC.                                       )
                                           )
                  Plaintiff,               )
v.                                         )
                                           )
                                           )    Docket No. 1:10-cv-00264-PB
PAN AM RAILWAYS, INC.,                     )
BOSTON AND MAINE CORPORATION, and          )
SPRINGFIELD TERMINAL RAILWAY               )
COMPANY                                    )
                                           )
                  Defendants.              )
__________________________________________)



                                ASSENTED-TO STIPULATION TO
                          CONDUCT THE DEPOSITION OF DAVID A. FINK
                           AFTER THE DISCOVERY COMPLETION DATE

           NOW COMES the Plaintiff Milford-Bennington Railroad Co., Inc., by and through

counsel DONAIS LAW OFFICES, PLLC, and requests that this Honorable Court’s approve the

following stipulation:

       1. On September 20, 2011, the Plaintiff issued a Notice of Deposition for David A. Fink.1

       2. Counsel for both the Plaintiff and the Defendants have agreed to conduct that deposition

           on Friday, October 21, 2011.

       3. Because discovery in this matter was scheduled to be completed by September 30, 2011,

           pursuant to Local Rule 16.4(b), the Plaintiff seeks this Court’s leave to conduct that

           deposition after the close of discovery.

       4. Counsel for the Defendants assent to this pleading.


1
    The “David A. Fink” referenced in this Stipulation is the father of the current president of Pan Am.

                                                            1
   5. Due to the nature of this pleading, no corresponding memorandum of law is attached.



      WHEREFORE, the Plaintiff hereby requests that this Honorable Court:

   A. Grant leave for the Plaintiff to conduct the Deposition of David A. Fink on Friday,

      October 21, 2011; and

   B. Grant such other and further relief as dictated by justice and equity.



                                             Respectfully submitted,

                                             Milford-Bennington Railroad Co., Inc.
                                             By its attorneys,

Dated: 10/17/2011                            /s/ Craig S. Donais
                                             Craig S. Donais, Esq.
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                                             P.O. Box 1778
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served this date via the Court’s
Electronic Case Filing (ECF) system upon all parties.


                                                    /s/ Craig S. Donais
                                                    Craig S. Donais




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